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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 KRISTIN A. CARMODY, M.D., M.H.P.E.,                          :
                                              Plaintiff,      :
                                                              :      21 Civ. 8186
                            -against-                         :
                                                              :         ORDER
 NEW YORK UNIVERISTY, et al.,                                 :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, Plaintiff has moved for sanctions in the form of attorneys’ fees spent

preparing a motion for an adverse inference, which was ultimately denied without prejudice. The

motion concerns the delayed production of certain text messages and the non-production of

others, due to deletion.

        WHEREAS, in a letter dated August 16, 2022, and in their opposition to Plaintiff’s

motion, Defendants state that NYU’s internal counsel issued four litigation preservation/hold

notices to relevant custodians from April 2021 through the date of the filing of this litigation.

Defendants do not attach these notices to their opposition and do not describe their contents, the

custodians to whom they were sent or counsel’s efforts to ensure compliance with the notices.

        WHEREAS, the August 16, 2022, letter argues it was appropriate “to conduct a good-

faith, manual search of [individual Defendants’] text messages on their personal phones, which

counsel reviewed for responsiveness and produced.” Defendants’ opposition to Plaintiff’s motion

also refers throughout to manual searches for responsive text messages. Neither document

provides details on these searches, including whether they were performed by counsel or the

custodians of the phones at issue, when they were performed, the instructions given to custodians

(if the custodians conducted the searches) and, as a general matter, what steps counsel took to

ensure any responsive text messages were located. It is hereby
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        ORDERED that no later than July 26, 2023, Defendants shall file a letter. The letter

shall attach any litigation holds issued to custodians in this case. The letter shall list the

custodians to whom these notices were sent and the dates on which they were sent. The letter

shall describe any efforts of counsel to ensure compliance with the notices. The letter shall

further describe the manual searches that Defendants performed to identify responsive text

messages, providing the missing information listed above. The letter shall further state anything

else relevant to assessing the reasonableness of Defendants’ conduct with respect to preserving

and identifying responsive text messages in discovery.

Dated: July 24, 2023
       New York, New York
